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UNITED STATES DISTRICT COURT APR11 2017
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION
. David J. Bradley, Clerk”
UNITED STATES OF AMERICA §
§
Vv. : Criminal No. i- } - 5 2 5
DANIEL BETANCOURT §
INDICTMENT

THE GRAND JURY CHARGES:
On or about March 21, 2017, in the Southern District of Texas and within the jurisdiction
of the Court, defendant,

DANIEL BETANCOURT

did knowingly and willfully make a materially false, fictitious, and fraudulent statement and
representation in a matter within the jurisdiction of the executive branch of the Government of
the United States, namely, the United States Federal Bureau of Investigation, by stating to Federal
Bureau of Investigation Special Agents that after Luis Gerardo Betancourt was arrested on
December 4," of 2015, the Defendant did not communicate with Jonathan Valdez about breaking
phones, when in truth and in fact, the statement and representation was false, as Daniel Betancourt
then and there knew, that after Luis Gerardo Betancourt was arrested on December 4," 2015, the

Defendant communicated with Jonathan Valdez telling him to break phones on December 5,""

2015.
In violation of Title 18, United States Code, Section 1001(a)(2).
A TRUE BAT
FOREREBZON“
ABE MARTINEZ

ACTING UN STATES ATTORNEY

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ASSISTANT UNITED STATES ATTORNEY

 
